      Case 3:20-cv-05839-MCR-HTC Document 7 Filed 11/09/20 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


JEFFERY HUDSON MCELWAIN,

       Plaintiff,

v.                                             CASE NO. 3:20cv5839-MCR-HTC

WILLIAM EDDINS and
LAURA YOUNG,

      Defendants.
______________________________/


                                    ORDER

      This cause comes on for consideration upon the Magistrate Judge’s Report

and Recommendation dated October 6, 2020. ECF No. 5. Plaintiff was provided a

copy of the Report and Recommendation and afforded an opportunity to file

objections pursuant to Title 28, United States Code, Section 636(b)(1). I have made

a de novo determination of any timely filed objections.

      Having considered the Report and Recommendation, and any objections

thereto timely filed, I have determined the Report and Recommendation should be

adopted.
      Case 3:20-cv-05839-MCR-HTC Document 7 Filed 11/09/20 Page 2 of 2

                                                                       Page 2 of 2



      Accordingly, it is now ORDERED as follows:

      1.    The Magistrate Judge’s Report and Recommendation, ECF No. 5, is

adopted and incorporated by reference in this Order.

      2.    Plaintiff’s complaint, ECF No. 1, is DISMISSED for failure to state a

claim on which relief may be granted.


      3.    The clerk is directed to close this file.


      DONE and ORDERED this 9th day of November 2020.




                                         s/ M. Casey Rodgers
                                        M. CASEY RODGERS
                                        UNITED STATES DISTRICT JUDGE




Case No. 3:20cv5839-MCR-HTC
